Case 2:18-cv-03845-C1\/|R Document 1 Filed 09/07/18 Page 1 01 13

JS 44 (Re\'. 06/|7)

CIVIL COVER SHEET

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purpose of lnitiating the civil docket sheet.

(SEE lNSTRUCT/ONS ON NE/\’T PAGE OF TH]S FORM.)

 

1. (a) PLAINTIFFS
HELEN Sv\/ARTZ, individually

(b) County of Residence of First Lisled Plaintiff Ml@mi-Dad€ COUnfy, FL
(EXCEPT/N U.S. PLA[NTIFF CASES)

(c) At‘tul'rl¢:_\".'i (F1111: 1\"11111€ Addr,ess and 1-"¢’11¢'.¢1110111‘ Nil111be1)
Davld S. Des`sen Dessen, Moses 8 Rossito, 600 Easton Rd Wi||ow

Grove, PA 19090, 215.496.2902 & Fu||er, Fu||er 81 Assoc., 12000
Biscayne B|vd, N. Miami, FL 33181, 305.891.5199 [PHV pending]

DEFENDANTS

URBAN PH|LADELPH|A LlBERTY BU|LD|NG, LLC,
a De|aware Limited Liabi|ity Company
County of Residence of Fi1'st Listed Defendant
(IN U.S. PLAINTIFF CASES ONL Y)

lN LAND CONDEMNATION CASES, USE THE LOCATlON OF
THE TRACT OF LAND lNVOLVED

NOTE:

Attomeys (1/`K11011111)

 

 

II. BASIS OF JURISDICTION (I’/m‘e 1111 "/\"'1`11()113}3().\'()11/)9

§ 3 Fedem| Question
(U.S. Go\'ermnem Nol a Pm'l_i)

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P|ainlifl`

Cl 2 U_S. Govel‘nment
Defendanl

Cl 4 Diversity
(Im/icale Ci`li:ens/H'p of Pm'lfes 1`11 I1e/11 III)

 

IV. NATURE OF SUIT -"."1'11('1: 1111 "/\’" 1'/1()11c Bo,\' (!11{1;1

III.

CITIZENSHIP OF PRINCIPAL PARTIES (l’/ace 1111 ",\"' /`/1()11e lio.\'f¢)/'I’ln/`n/l{f
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VI. CAUSE OF ACTION

Bl'ici` description of cause:

 

Cite the U.S. Civil Statute under which you are filing (Dv 1101 cin» _,1'111'1.\'1.11(.'1'1111¢11' .\'mmrex 1111/em rlivcrxirjd:

Til|e ||1 of the Americans with Disabilities Act. 42 USC Sec. 12181, et seu.

eqla| access to places of public accommodation for persons with disabilities

 

 

 

VII. REQUESTED IN 5 CHECK lF THls is A CLASS ACTloN DEMAND $ CH ECK YES Only ifd€m“d€d in C<>mplaimr
COMPLAINT: UNDER RULE 23, F-R~Cv~l’- JURY 1)E1\1AN1)= m Yes )ANO
VIII. RELATED CASE(S)
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Case 2:18-cv-03845-C1\/|R Document 1 Filed 09/07/18 Page 2 of 13

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

HELEN SWARTZ, Individually,

 

Plaintiff,

v.
Case No.

URBAN PHILADELPHIA LIBERTY
BUILDING, LLC, a DelaWare Limited
Liability Company,

Defendant.

1
M

Plaintiff, HELEN SWARTZ, lndividually, on her behalf and on behalf of all other
mobility-impaired individuals similarly-situated, (sometimes referred to as “Plaintiff“), hereby
sues the Defendant, URBAN PHILADELPHIA LIBERTY BUILDING, LLC, a DelaWare
Limited Liability Cornpany (sometirnes referred to as “Defendant”) for Injunctive Relief, and
attorney’s fees, litigation expenses, and costs pursuant to the Americans With Disabilities Act, 42
USC § 12181 e_ts_ecL (“ADA”).

1. Plaintiff, HELEN SWARTZ, resides in Miami Beach, Florida, in the County of
Miami-Dade.

2. Defendant’s property, The Aloft Philadelphia Downtown Hotel, is located at 101
North Broad Street, Philadelphia, PA, in the County of Philadelphia.

3. Venue is properly located in the Eastern District of Pennsylvania because Venue
lies in the judicial district of the property situs. The Defendant’s property is located in and does

business Within this judicial district.

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4. Pursuant to 28 USC § 1331 and 28 USC § 1343, this Court has been given
original jurisdiction over actions which arise from the Defendant’s violations of Title 111 of the
Americans with Disabilities Act, 42 USC § 12181 e_t s_eq. @, M, 28 USC § 2201 and § 2202.

5. Plaintiff, HELEN SWARTZ is a Florida resident, is sui juris, has multiple
sclerosis and relies on the use of an electric scooter to ambulate, as she is mobility impaired.
She qualifies as a person with disabilities, as defined by the Americans with Disabilities Act.

Helen Swartz was born and raised in New York City and moved to the
Philadelphia area in 1978 to attend graduate school. After completion of her studies, she
founded a business and resided in the area until 2011. She was active in the business
community and has many long-standing relationships that she has maintained throughout the
years. She also had two children during those years, through which she knew many people.

Her elder daughter and granddaughter live in the surrounding area and She often meets
them in Center City, Philadelphia, so that they may enjoy cultural activities, dining and
shopping in Philadelphia. She has often taken her granddaughter to the Museum of Natural
History and Please Touch Museums in Philadelphia. Ms. Swartz also enjoys meeting her
Philadelphia-based friends in Various restaurants and attending local shows in Philadelphia.

Helen Swartz visited the property which forms the basis of this lawsuit, and has
reservations to return to the property to avail herself of the goods and Services offered to the
public at the property, if the facilities are fully accessible and the barriers to access have been
corrected. The Plaintiff has encountered architectural barriers at the subject property, which
have impaired her use of the facilities and the amenities offered, and have endangered her safety
at the facilities and her ability to access the facilities the property has to offer and use the

restrooms.

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6. HELEN SWARTZ has patronized the hotel which forms the basis of this lawsuit
on several occasions. She plans to return to the facility in the near future, once the facility is
made accessible, to avail herself of the goods and services offered to the public at the property.

7. The Plaintiff has encountered architectural barriers at the subject property, which
are enumerated in paragraph 11. The barriers to access at the property have endangered her
safety, and adversely affected her ability to use the facilities.

8. Defendant owns, leases, leases to, or operates a place of public accommodation as
defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.
Defendant is responsible for complying with the obligations of the ADA. The place of public
accommodation that the Defendant owns, operatse, leases or leases to is known as The Aloft
Philadelphia Downtown Hotel, and is located at 101 North Broad Street, Philadelphia, PA
19103, in the County Of Philadelphia.

9. HELEN SWARTZ has a realistic, credible, existing and continuing threat of
discrimination from the Defendant’s non-compliance with the ADA with respect to this property
as described but not necessarily limited to the allegations in Paragraph 11 of this Complaint.
Plaintiff has reasonable grounds to believe that she will continue to be subjected to
discrimination in violation of the ADA by the Defendant. HELEN SWARTZ desires to visit
The Aloft Philadelphia Downtown Hotel not only to avail herself of the goods and services
available at the property but to assure herself that this property is in compliance with the ADA so
that she and others similarly-situated will have full and equal enjoyment of the property without

fear of discrimination

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10. The Defendant has discriminated against the individual Plaintiff by denying her
access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages
and/or accommodations of the hotel, as prohibited by 42 USC § 12182 e_t M.

ll. The Defendant has discriminated, and is continuing to discriminate, against the
Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,
1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of
$500,000 or less). A preliminary inspection of the The Aloft Philadelphia Downtown Hotel has
shown that violations exist. These violations which HELEN SWARTZ personally observed or

encountered, and which were verified by an ADA expert, include, but are not limited to:

a. The hotel does not provide independent access to a person in a
wheelchair to get to the connected space within their site. This is in violation of section
206.2.2 of the 2010 Standards for Accessible Design. §36.202 & §36.304. This
condition made it difficult for the Plaintiff to access the site.

b. The lift requires an attendant to operate. As well, the attendant couldn’t
find the key for plaintiff to access another area in the hotel so plaintiff was unable to get
the same services as an abled guest. This is in violation of section 410.1 of the 2010
Standards for Accessible Design. §36.202 & §36.304. This condition made it difficult
for the Plaintiff to use the facility or independently access another area of the site.

c. The check-in counter is too high. This is in violation of section 902 of
the 2010 Standards for Accessible Design. §36.304. This condition made it difficult for
the Plaintiff to use the facilities.

d. Accessible seating is not provided at the tables. This is in violation of
sections 226 and 902 of the 2010 Standards for Accessible Design. This condition made
it extremely difficult for the Plaintiff access the tables in the hotcl.

e. The bar is too high. This is in violation of sections 226 and 902 of the
2010 Standards for Accessible Design. This condition made it extremely difficult for the
Plaintiff access to the bar in the hotel.

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f. The elevator card reader is out of reach to a person in a wheelchair. This
is in violation of sections 308 & 407.2.1.1 of the 2010 Standards for Accessible Design.
§36.304 This condition made denies the plaintiff the ability to use her credit card to
access the machine.

g. The door hardware in the accessible guestroom is out of reach to a person
in a wheelchair. This is in violation of section 404.2.7 of the 2010 Standards for
Accessible Design. §36.304. This condition made it difficult for the Plaintiff to use the
facility.

h. Items in the accessible guestroom bathroom and bedroom are out of reach
to a person using a wheelchair. This is in violation of sections 213.3.7 and 308 of the
2010 Standards for Accessible Design. §36.304. This condition made it difficult for the
Plaintiff to use the facilities

i. The stairway has improper handrails. This is in violation of sections
505.10.1 of the 2010 Standards for Accessible Design. §36.304.

j. A mirror in the accessible toilet room is too high. This is in violation of
sections 213.3.5 & 603.3 of the 2010 Standards for Accessible Design. §36.304. This
condition made it difficult for the Plaintiff to use.

k. The location of the Water closet n the accessible toilet compartment is
positioned too far from a side wall. This is in violation of section 604.2 of the 2010
Standards for Accessible Design. §36.304. This condition made it difficult for the
Plaintiff to use.

l. Compliant grab bars are not provided in the accessible toilet
compartment This is in violation of section 604.5 of the 2010 Standards for Accessible
Design. §36.304. This condition made it difficult for the Plaintiff to use the facilities.

m. The accessible stall door is not self-closing. This is in violation of
section 604.8.1.2 of the 2010 Standards for Accessible Design. §36.304. This condition
made it difficult for the Plaintiff to use the facilities.

n. The alternate accessible toilet compartment is not compliant. This is in
violation of section 604.8.2 of the 2010 Standards for Accessible Design. §36.304. This
condition made it difficult for the Plaintiff to use the facilities.

o. The toilet paper seat dispenser is out of reach to a person using a

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wheelchair. This is in violation of section 308 of the 2010 Standards for Accessible
Design. §36.304. This condition made it difficult for the Plaintiff to use the facilities.

p. The mirrors are out of reach to a person in a wheelchair. This is in
violation of section 603.3 of the 2010 Standards for Accessible Design. §36.304. This
condition made it difficult for the Plaintiff to use the facilities.

q. The entry door opening force to the toilet room is too heavy. This is in
violation of section 404.2.9 of the 2010 Standards for Accessible Design. §36.304. This
condition made it difficult for the Plaintiff to use the facilities.

r. The threshold inside the gym has a change in level. This is in violation
of section 404.2.5 of the 2010 Standards for Accessible Design. §36.304. This condition
made it difficult for the Plaintiff to access the site.

s. ltems in re-fuel are out of reach to a person using a wheelchair. This
condition made it difficult for the Plaintiff to buy something to eat or drink.

t. The hotel does not provide the required amount of compliant accessible
guest rooms. This is in violation of section 224 of the 2010 Standards for Accessible
Design. §36.304. This denies to Plaintiff the full and equal opportunity to stay at the

subject hotel.
Maintenance
u. The accessible features of the facility are not maintained, creating barriers

to access for the Plaintiff, as set forth herein, in violation of 28 CFR §36.211.

12. All of the foregoing cited violations are violations of both the 1991 Americans
with Disabilities Act Guidelines (ADAAG) and the 2010 Standards for Accessible Design, as
adopted by the Department of Justice.

13. The discriminatory violations described in Paragraph 11 are not an exclusive list
of the Defendant’s ADA violations. Plaintiff requires the inspection of the Defendant’s place of
public accommodation in order to photograph and measure all of the discriminatory acts

violating the ADA and all of the barriers to access. The individual Plaintiff, and all other

Case 2:18-cv-O3845-C1\/|R Document 1 Filed 09/07/18 Page 8 of 13

individuals similarly-situated, have been denied access to, and have been denied the benefits of
seivices, programs and activities of the Defendant’s facilities, and have otherwise been
discriminated against and damaged by the Defendant because of the Defendant’s ADA
violations, as set forth above. The individual Plaintiff, and all others similarly-situated will
continue to suffer such discrimination, injury and damage without the immediate relief provided
by the ADA as requested herein. ln order to remedy this discriminatory situation, the Plaintiff
requires an inspection of the Defendant’s place of public accommodation in order to determine
all of the areas of non-compliance with the Americans With Disabilities Act.

14. Defendant have discriminated against the individual Plaintiff by denying her
access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or
accommodations of its place of public accommodation or commercial facility in violation of 42
USC § 12181 et seq. and 28 CFR. 36.302 et seq. Furthermore, the Defendant continue to
discriminate against the Plaintiff, and all those similarly-situated by failing to make reasonable
modifications in policies, practices or procedures, When such modifications are necessary to
afford all offered goods, services, facilities, privileges, advantages or accommodations to
individuals with disabilities; and by failing to take such efforts that may be necessary to ensure
that no individual With a disability is excluded, denied services, segregated or otherwise treated
differently than other individuals because of the absence of auxiliary aids and services.

15. Plaintiff is without adequate remedy at law and is suffering irreparable harin.
Considering the balance of hardships between the Plaintiff and Defendant, a remedy in equity is
warranted. Furthennore, the public interest would not be disserved by a permanent injunction.
Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

litigation expenses from the Defendant pursuant to 42 USC § 12205 and 28 CFR 36.505.

Case 2:18-cv-O3845-C1\/|R Document 1 Filed 09/07/18 Page 9 of 13

16. Defendant is required to remove the existing architectural barriers to the
physically disabled, when such removal is readily achievable for its place of public
accommodation that has existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative,
if there has been an alteration to Defendant’s place of public accommodation since January 26,
1992, then the Defendant is required to ensure to the maximum extent feasible, that the altered
portions of the facility are readily accessible to and useable by individuals with disabilities,
including individuals who use walkers and wheelchairs, 28 CFR 36.402; and finally, if the
Defendant’s facility is one which was designed and constructed for first occupancy subsequent to
January 26, 1993, as defined in 28 CFR 36.401, then the Defendant’s facility must be readily
accessible to and useable by individuals With disabilities as defined by the ADA.

17. Notice to Defendant is not required as a result of the Defendant’s failure to cure
the violations by January 26, 1992 (or January 26, 1993, if Defendant have 10 or fewer
employees and gross receipts of 8500,000 or less). All other conditions precedent have been
met by Plaintiff or waived by the Defendant.

18. Pursuant to 42 USC § 12188, this Court is provided with authority to grant
Plaintiff Injunctive Relief, including an order to require the Defendant to alter the The Aloft
Philadelphia Downtown Hotel to make those facilities readily accessible and useable to the
Plaintiff and all other persons With disabilities as defined by the ADA; or by closing the facility
until such time as the Defendant cure its violations of the ADA. The Order shall further require

the Defendant to maintain the required assessable features on an ongoing basis.

WHEREFORE, Plaintiff respectfully requests:

Case 2:18-cv-O3845-C1\/|R Document 1 Filed 09/07/18 Page 10 of 13

a. The Court issue a Declaratory Judgment that determines that the
Defendant at the commencement of the subject lawsuit are in violation of Title 111 of the
Americans with Disabilities Act, 42 USC § 12181 et seq.

b. lnjunctive relief against the Defendant including an order to make all
readily achievable alterations to the facility; or to make such facility readily accessible to
and useable by individuals with disabilities to the extent required by the ADA; and to
require the Defendant to make reasonable modifications in policies, practices or
procedures, When Such modifications are necessary to afford all offered goods, services,
facilities, privileges, advantages or accommodations to individuals with disabilities; and
by failing to take such steps that may be necessary to ensure that no individual with a
disability is excluded, denied services, segregated or otherwise treated differently than

other individuals because of the absence of auxiliary aids and services.

c. An award of attorney’s fees, costs and litigation expenses pursuant to 42
USC § 12205.
d. Such other relief as the Court deems just and proper, and/or is allowable

under Title 111 of the Americans with Disabilities Act.

Respectfully submitted,

Dated: lig ,2018 M§ 2 §}

David S. Dessen, Esq. (I.D. 17627)
Dessen, Moses & Rossito

600 Easton Road

Willow Grove, PA 19090
Telephone: 215.496.2902
Facsimile: 215.564.2879
cldessen(Etldms-lawver.coni

and

 

Case 2:18-cv-O3845-C1\/|R Document 1 Filed 09/07/18 Page 11 of 13

Lawrence A. Fuller, Esq., pro hac vice pending
Fuller, Fuller & Associates, P.A.

12000 Biscayne Boulevard, Suite 502

North Miami, FL 33181

Telephone: 305.891.5199

Facsimile: 305.893.9505

li"u11er§rD:f`ullei‘fuller.com
Attorneysfor Plaintiffs

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Case 2:18-cv-03845-C1\/|R Document 1 Filed 09/07/18 Page 12 of 13
UNlTED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the categorjt1 of the case for the purpose of assignment fo the appropriate calendar)

Addressofplaim]-ff: 1330 West Avenue, Miami Beach, FL 33139

 

AddressofDefendam: c/o CT Corporation System, 2001 Market Street, Philadelphia, PA 19103

 

101 North Broad Street, Philadelphia, PA 19107

Place of Accident, Incident or Transaction:

 

 

RELA TED CASE, IFANY.'

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

 

1. ls this case related to property included in an earlier numbered suit pending or within one year Yes g No-
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes m No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes |:| No
numbered case pending or Within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes g No
case filed by the salne individual?

I certify that, to my knowledge, tlle within case [:l is / is not related to any case now pending or within one year previously terminated action in

this court except as noted above. _

DATE_ 09/05/2018 (Q,,Q§ [ Qp,c,\ 17627

Attorney-at-Law / Pro S`e-'F/aintij" Attorney ].D. # (ifapp/icable)

 

 

CIVIL: (Place a \/ in one category only)

 

A. F ederal Question Cases: B. Diversity Jurisdiction Cases:
El l. Indemnity Contract, Marine Contract, and All Other Contracts m l. Insurance Contract and Other Contracts
l:| 2. FELA g 2. Airplane Persona injury
l:l 3. Jones Act-Personal lnjury m 3. Assault, Defamation
I:] 4. Antitrust |:| 4. Marine Persona| lnjury

5. Patent |:| 5 . Motor Vehicle Persona| lnjury
§ 6. Labor»Management Relations |:| 6. Other Personal lnjury (Please speci]§'):
7. civil nghts [:| 7. Producls Liabnity
[:l 8. Habeas Corpus E| 8. Products Liability _ Asbestos

9. Securities Act(s] Cases m 9. All other Diversity Cases
E 10. Social Security Rcvicw Cases (Please speclfv):
g ll. All other Federal Question Cases

(Please specij_®):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove lhe case from eligibility for arbitration.)

L David S. Dessen, Esq.

, counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum 0f$150,000.00 exclusive ofinterest and costs:

Reliet` other than monetary damages is sought.
DATE: 09/05/2018 17627

A!loriley-at-Law /Pro Se Plaintiy Attomey I.D. # (ifapp/icab[e)

 

 

NOTE: A trial de novo will be a trial byjury only if there has been compliance with F`R.C.P. 38.

 

civ 609 (5/21)111)

 

Case 2:18-cv-03845-C1\/|R Document 1 Filed 09/07/18 Page 13 of 13

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

 

HELEN SWARTZ, Individually,

v. CIVIL ACTION NO.
URBAN PHILADELPHIA LIBERTY
BUILDING, LLC, a Delaware
Limited Liability Company

ln accordance With the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1103 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a Case Management Track Designation Form specifying the track to which

that defendant believes the case should be assigned.
SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255.

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits.

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.)

(f) Standard Management - Cases that do not fall into any one of the other tracks

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Date Attorney-at-law Attorney for
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Telephone FAX Number E-Mail Address

(Civ. 660) 10/02

